17 F.3d 396
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Antonio DELGADO, Defendant-Appellant.
    No. 92-50148.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 7, 1994.*Decided Feb. 14, 1994.
    
      Before:  SCHROEDER, CANBY and WIGGINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Antonio Delgado appeals his conviction and 204-month sentence following jury trial for possession with intent to distribute and conspiracy to distribute and possess with intent to distribute cocaine in violation of 21 U.S.C. Secs. 841(a)(1), 846.
    
    
      3
      Pursuant to  Anders v. California, 386 U.S. 738 (1967), Delgado's counsel submitted a brief stating that he finds no meritorious issues for review.1  Counsel also filed a motion to withdraw as counsel of record.  Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issues for review.
    
    
      4
      The motion of counsel to withdraw is GRANTED and the judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         The brief prepared by counsel Milton R. Berich on behalf of Antonio Delgado and received on March 19, 1993 is ordered filed.  The brief of appellee United States received on August 25, 1993 is also ordered filed
      
    
    